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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re                                                             Chapter 15

    Lighthouse Immersive Inc., et al.                                 Case No. 23-11021 (LSS)

                  Debtors in a Foreign Proceeding.1                   Jointly Administered


                      NOTICE OF FILING OF THIRD MONITOR’S REPORT

               PLEASE TAKE NOTICE that, on November 16, 2023, B. Riley Farber Inc. (the
“Monitor”) filed the Third Report of the Monitor (the “Third Monitor’s Report”) in the Canadian
Proceeding. A copy of the Third Monitor’s Report is attached hereto as Exhibit A.

Dated: December 5, 2023
       Wilmington, Delaware
                                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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                                                       Counsel for the Foreign Representative

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      The Debtors and the last four digits of its U.S. Federal Employer Identification Numbers or other unique identifier
      are as follows: Lighthouse Immersive Inc. (9411) (Ontario Corporation No.) and Lighthouse Immersive USA Inc.
      (2401) (FEIN). The Debtors’ mailing address is 640 Briar Hill Avenue, Toronto, Ontario, Canada, M5N 1N2.
